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  7
  8                          UNITED STATES DISTRICT COURT
  9                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
 10                                     SOUTHERN DIVISION
 11   UNITED STATES OF AMERICA,     )
                                    ) Case: SA CR 17-00043-DOC
 12            Plaintiff,           )
                                    ) DEFENDANT'S POSITION RE:
 13       vs.                       ) SENTENCING; EXHIBIT A
                                    )
 14   ELIZABETH MULDER,             ) Sentencing Date: October 16, 2017
                                    ) Hearing Time: 7:30 a.m.
 15            Defendant            )
                                    )
 16                                 )
                                    )
 17                                 )
      TO THE HONORABLE DAVID O. CARTER, UNITED STATES DISTRICT
 18   JUDGE, THE UNITED STATES ATTORNEY’S OFFICE AND ITS
 19   ATTORNEY OF RECORD, ASSISTANT UNITED STATES ATTORNEY
      PAUL LEBLANC AND UNITED STATES PROBATION OFFICER LESLIE
 20   DE LA TORRE:
 21       Defendant ELIZABETH MULDER (hereinafter the “Defendant”), by and
 22   through counsel of record, Katherine Corrigan, hereby files Defendant’s Position Re
 23   Sentencing in the above-entitled matter.
 24
 25   DATED: October 2, 2017                 ____/s/____________________
                                             Katherine Corrigan
 26                                          Attorney for Defendant
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                           Defendant’s Sentencing Position Memorandum
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  1                                               I.
  2                                      INTRODUCTION
  3          Defendant respectfully submits this memorandum in order to provide
  4   information to assist the Court in fashioning a sentence “sufficient but not greater than
  5   necessary” to achieve the statutory purposes of punishment, as required by 18 U.S.C.
  6   Section 3553(a) in light of United States v. Booker, 125 U.S. 738 (2005). After full analysis
  7   of the sentencing factors in this case, the information provided by the defense and
  8   probation, the Defendant requests that this Court sentence the Defendant to the
  9   recommended sentence, namely, to no more than 36 months imprisonment followed be
 10   a 3 year period of supervised release, the payment of restitution and special assessments.
 11          The requested sentence is based on the factors cited in this memorandum and are
 12   the basis for the variance recommended by probation and requested by the Defendant.
 13   Those factors include, but are not limited to, the Defendant’s personal history
 14   (childhood and upbringing, mental and physical health problems, and history), and the
 15   Defendant’s participation in counseling while on bond.
 16          The Defendant believes that such a sentence is reasonable in light of the facts of
 17   this case, the Defendant’s personal history and characteristics, and actions while on
 18   pretrial release. The proposed sentence meets the goals of modern sentencing law, as
 19   set forth in Title 18 U.S.C. §3553(a) and related case law.
 20                                                    II.
 21          PROCEDURAL BACKGROUND AND DEFENDANT’S COMMENTS
 22         A. Court Proceedings.
 23          Prior to making her initial appearance in this case on June 5, 2017, the Defendant
 24   had already entered into a plea agreement with the government. From an early stage,
 25   she provided information about her role in the offense. This resulted in an early
 26   resolution of her case and significant conservation of government resources. She
 27   entered her guilty plea on June 12, 2017.
 28          The Defendant is now prepared to be sentenced.
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  1         B. The Plea Agreement
  2         On May 15, 2017, the Defendant, with the assistance of counsel, entered into a
  3   plea agreement with the government in this Case (the “Plea Agreement”). The
  4   executed Plea Agreement is filed with the Court. The terms and conditions of the Plea
  5   Agreement are accurately reflected in the PSR. (See PSR ¶¶32-66). On June 12, 2017,
  6   the Defendant entered a guilty plea pursuant to the Plea Agreement, and the Court
  7   accepted the guilty plea.
  8         The Plea Agreement contemplates a total adjusted offense level of 26:
  9         Base offense level 7 – U.S.S.G. §2B1.1 (a) (1)
 10         Loss Adjustment of + 16 – U.S.S.G. §2B1.1 (b) (1) (I)
 11         Substantial financial hardship–adjustment of +2 – U.S.S.G. §2B1.1 (b) (2) (A) (iii)
 12         Vulnerable Victim: +2 U.S.S.G. §3A1.1 (b) (1)
 13         Use of Special Skill: +2 U.S.S.G. §3B1.3
 14         Acceptance of Responsibility - -3 – U.S.S.G. §3E1.1
 15                Total adjusted offense level – 26
 16                Criminal History Category I
 17                The Defendant is not in breach of the Plea Agreement, and has not
 18   obstructed justice and has accepted responsibility for the offense conduct (See PSR
 19   ¶¶40-41).
 20         The Defendant stands by the terms of the Plea Agreement and asks this Court to
 21   make findings that are consistent with the stipulations regarding sentencing factors that
 22   are contained in the Plea Agreement.
 23         C. Minimum and Maximum Possible Sentence
 24          The statutory maximum sentence that the Court can impose in this case is 23
 25   years imprisonment, followed by a 3 year period of supervised release, along with fines
 26   of up to $3,50,000.00 or twice the gross gain or gross loss resulting from the offenses,
 27   and a mandatory special assessment of $200.00. There is no statutory mandatory
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                            Defendant’s Sentencing Position Memorandum
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  1   minimum sentence in this Case. In addition, the law and the Plea Agreement
  2   contemplate the imposition of an order of restitution.
  3         D. Defendant’s Comments Regarding the PSR:
  4         The PSR provides great detail of the Defendant’s life and personal history. As
  5   the Court can see from the PSR, the Defendant did not grow up in a “normal”
  6   household or environment. She is one of three children. Her brother died of a heroin
  7   overdose in 2012. Her childhood is described in the PSR as “unstable and chaotic.”
  8   That seems to be an understatement.
  9         At the age of 6, the PSR discloses to the Court that the Defendant had a horrible
 10   event (due to the nature of its description, please refer to PSR ¶79). In addition, her
 11   father suffered from significant mental health disease that he often left un-medicated.
 12   He also abused and binge on drugs and alcohol. He used illegal drugs in front of his
 13   children. (See PSR ¶80-81, 83). There were also times that the children were not picked
 14   up from school and left with relatives. (See PSR ¶81-82.) On one occasion, he locked
 15   himself in the bathroom and tried to kill himself by slitting his neck. The Defendant
 16   and her siblings were at home and called for help. Her father was hospitalized as a
 17   result of his suicide attempt. (See PSR ¶84.)
 18         During this time, the Defendant’s mother suffered from significant health
 19   problems. The Defendant became responsible for the care of her brothers and father,
 20   and made sure that her father took his medications. (See PSR ¶85.)
 21         As the stresses built up, the Defendant turned to food to “self-medicate”. In
 22   high school, she weighed 200 pounds, and she started lying to people about her family
 23   due to the embarrassment she experiences. The neighbors had seen the police take her
 24   father away from the family home on many occasions, and people gossiped about the
 25   family. The Defendant resorted to lying to people and telling them that everything is
 26   OK and that her parents had good jobs. Her childhood was traumatizing. She resorted
 27   to food, and her brother resorted to drugs (often using with his father) (See PSR ¶87-
 28   88). Her weight eventually creeped up to 300 pounds. (See PSR ¶97.)
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  1            The Defendant wishes that her mother would have left her father. She believes
  2   that her brother would not have overdosed and died had that choice been made by her
  3   mother. (See PSR ¶90).
  4            The Defendant is married and enjoys her two children. Despite significant
  5   financial and health challenges, and a bankruptcy (due to medical bills), she has tried to
  6   maintain a stable environment for her family.
  7            The Defendant’s health has been compromised by her out of control weight gain.
  8   In 2007, she underwent gastric bypass surgery and lost about 140 pounds. However, as
  9   a result of the procedure, she has suffered additional health problems, including being
 10   severely anemic and in need of monthly iron infusions. She also takes numerous
 11   prescription medications. (See PSR ¶97-98.)
 12            The Defendant’s mental health status is also compromised. She suffers from
 13   anxiety and a bipolar condition. When she learned of this investigation, she had
 14   thoughts of crashing her car into a wall, but instead, was admitted at a hospital in South
 15   Orange County, and remained there for 7 days. At this time, she was diagnosed with a
 16   bipolar condition and prescribed anti-psychotic drugs. She suffered adverse reactions to
 17   the drugs and had to stop taking them. (See PSR ¶101.) She attends therapy with a
 18   doctor. (See PSR ¶103.)
 19            After the change of plea hearing occurred, a poster was discovered by her child
 20   and the poster had an expletive word written on it. A few days later, someone carved
 21   her husband’s paint job on his truck – the carving included numerous expletive words.
 22   These incidents were reported to law enforcement and the government. (See PSR
 23   ¶102.)
 24            The Defendant has some college education and is currently unemployed (she was
 25   let go from her employment as a result of this Case.) (See PSR ¶¶105-111.)
 26            The Defendant has not financial ability to pay a fine or to pay interest on the
 27   restitution that the Court will order. The Defendant requests that the Court order all
 28   fines and interest on the restitution waived. (See PSR ¶¶112-128.)
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                              Defendant’s Sentencing Position Memorandum
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  1          According to the PSR, the Defendant has no criminal history, no warrants and no
  2   other cases. She accepted responsibility at a very early stage and she has not obstructed
  3   justice. (See PSR ¶¶40-41, 68-74.)
  4         E. The Sentencing Recommendation Letter.
  5         The Defendant agrees that the probation officer’s recommendation of 36 months
  6   imprisonment is appropriate and asks that the Court impose a sentence of no more than
  7   36 months imprisonment. The Defendant has no objection to the recommendations
  8   relating to the calculation of the restitution, the waiver of fines and interest. Further, the
  9   Defendant has no objection to period of supervised release or the terms and conditions
 10   of supervised release. The conditions are related to the offense conduct and tailored to
 11   the Defendant’s mental health problems. There is no recommendation for RDAP
 12   because the Defendant does not suffer from substance abuse issues. In light of her not
 13   qualifying for application for RDAP, she will not be eligible to participate in a program
 14   that could significantly reduce her actual time in prison.
 15         F. Exhibit A: Letters to the Court:
 16         Jessie Mulder, the Defendant’s husband, has provided a letter for the Court’s
 17   information. The letter is a window into the effect that the Defendant’s theft has caused
 18   the family and others to experience. It also provides a vivid description of the remorse
 19   that the Defendant is experiencing. It has manifested itself both emotionally and
 20   physically. What is also impactful is the description he provides about the household
 21   and how their lives have been completely altered by the Defendant’s conduct. They
 22   have 2 young children and they, so far, have been shielded from the effect of the
 23   Defendant’s offense conduct. However, he does attend therapy sessions with them and
 24   he intends to continue with this process in order to do what he can to protect them.
 25         The letter also talks of the vandalism that they have suffered, along with the
 26   deterioration of the support network that the family has enjoyed. Mr. Mulder also tells
 27   us about the deterioration of the support system he has enjoyed as a fire fighter.
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  1   Despite these tough issues, he is standing by his wife, and acknowledges that there will
  2   be incarceration in this case.
  3         Ms. Palmer also offers the Court insight into who Ms. Mulder is. She talks about
  4   how she has helped her identify and address depression and substance abuse issues
  5   relating to the mental health problems she was experiencing during her divorce.
  6
  7                                               III.
  8                 POST-BOOKER SENTENCING CONSIDERATIONS
  9                 18 U.S.C. Sections 3553(a) (1)-(7) Humanization Factors
 10          In light of United States v. Booker, 125 U.S. 738 (2005), the sentencing guidelines
 11   are advisory and are but one factor to be considered by the Court in fashioning an
 12   appropriate sentence, to wit, a sentence that is “sufficient but not greater than
 13   necessary” to achieve the statutory purposes of punishment, as required by 18 U.S.C.
 14   Section 3553(a). The Sentencing Guidelines are only a starting point for the Court in
 15   crafting a reasonable sentence. Indeed, under Section 3553(a), the district courts are
 16   required to sentence below the range if such a sentence would be sufficient to achieve
 17   the purposes of sentencing. As a result, the sentencing guideline range is no longer
 18   binding on the Court, as the Sentencing Guidelines are merely advisory today and only
 19   one of several factors to be considered in determining sentence. Booker, 124 S.Ct. at
 20   764-65. 18 U.S.C. Sections 3553(a) (1)-(7) provide the Court with other factors to
 21   include in the fashioning of a reasonable sentence:
 22       1. the nature and circumstances of the offense and the history and characteristics of
 23          the defendant;
 24       2. the need for the sentence imposed –
 25            (A) to reflect the seriousness of the offense, to promote respect for the law, and
 26          to provide just punishment for the offense;
 27            (B) to afford adequate deterrence to criminal conduct;
 28            (C) to protect the public from further crimes of the defendant; and
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                              Defendant’s Sentencing Position Memorandum
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  1            (D) to provide the defendant with needed educational or vocational training,
  2          medical care, or other correctional treatment in the most effective manner;
  3       3. the kinds of sentences available;
  4       4. the kinds of sentence and the sentencing range established for--
  5                (A) the applicable category of offense committed by the applicable category
  6       of defendant as set forth in the guidelines issued by the Sentencing Commission
  7       pursuant to section 994(a)(1) of title 28, United States Code, and that are in effect on
  8       the date the defendant is sentenced (the Sentencing Guideline Range);
  9       5. any pertinent policy statement issued by the Sentencing Commission pursuant to
 10          28 U.S.C. Section 994(a)(2) that is in effect on the date that defendant is
 11          sentenced;
 12       6. the need to avoid unwarranted sentencing disparity among defendants with
 13          similar records who have been found guilty of similar conduct; and
 14       7. the need to provide restitution to victim(s) of the offense.
 15       Id., 18 U.S.C. Sections 3553(a) (1)-(7).
 16                                                  IV.
 17                       DEFENDANT’S POSITION RE:
                 SENTENCING FACTORS AS APPLIED TO DEFENDANT
 18
 19
             1. The proposed sentence considers the personal history and
 20
                 characteristic of the Defendant and the nature of the offense.
 21
             The Defendant’s personal history and characteristics are clearly outlined in the
 22
      PSR and are summarized in the preceding pages. Her upbringing clearly set the stage
 23
      for the Defendant’s actions in this Case. She is undergoing therapy to assist her in
 24
      confronting the stresses in her life, and understands that she continuously work to
 25
      maintain / control her stress levels. She has not only accepted responsibility for her
 26
      offense conduct, but she did so at a very early stage. This is a clear signal that she does
 27
      not minimize her conduct and she recognizes the seriousness of her offense conduct.
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  1   According to the PSR, the Defendant has no criminal history, no warrants and no other
  2   cases. She accepted responsibility at a very early stage and she has not obstructed
  3   justice. (See PSR ¶¶40-41, 68-74.)
  4          2.    The proposed sentence reflects the seriousness of the offense,
  5               promotes respect for the law and provides just punishment for the
  6               offense.
  7          The proposed sentence of no more than 36 months imprisonment reflects the
  8   seriousness of the offense. It will serve to promote respect for the law and provide just
  9   punishment. It will send the message that a person who engages in similar conduct will
 10   face significant incarceration. As the Defendant’s husband’s letter illustrates, the
 11   sentence in this case will be a stark reminder to all that others suffer significantly as a
 12   result of the offense conduct – the victims, family members and the community at large.
 13   The ripple effect of cases like this one is significant and often times, a greater
 14   punishment impact than incarceration. The letter, which is attached hereto as Exhibit
 15   A, provides vivid detail that supports that the requested sentence will reflect the
 16   seriousness of the offense, promote respect for the law and provide just punishment.
 17          3. The proposed sentence affords adequate specific and general
 18               deterrence to criminal conduct.
 19          The proposed sentence affords both specific and general deterrence to criminal
 20   conduct. The Defendant will make the Court aware of her remorse and recognition of
 21   the seriousness of the financial and emotional harm she has exacted on her victims. She
 22   also recognizes that the offense conduct has left her family in financial ruin and at peril
 23   of emotional destruction. She recognizes that her husband’s job is dangerous and that,
 24   if something should happen to him while she is in custody, she will not be able to be
 25   present for him or their 2 young children. There are no other family members that can
 26   step in to properly assist should anything bad occur. General deterrence goals are
 27   satisfied by the proposed sentence. The message that a significant sentence sends to the
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   1   public is clear - it is not worth it to engage in any criminal conduct, and in particular, as
   2   here, financial crimes.
   3          4. The proposed sentence protects the public from further crimes of the
   4             Defendant.
   5          The Defendant now knows that her conduct has not only put her in peril of
   6   being incarcerated, but it has also destabilized her children’s security and her husband’s
   7   future. This, along with the shame she is experiencing about what she has done to her
   8   victims, is excruciating. The terms and conditions of supervised release will preclude the
   9   Defendant from re-entering into future similar schemes. There is no turning back time,
 10    and undoing what she has done, but if she could, she would. The impact of the
 11    Defendant’s conduct is a signal that she is not likely to commit any future crimes.
 12    Continuing mental health assistance will provide her with the tools to ensure the Court
 13    and the public that she is no longer a threat to the public. The terms and conditions of
 14    supervised release will ensure that the Defendant will be monitored and her work
 15    activities will be scrutinized by probation.
 16         5. The Minimally-Sufficient Sentence in the Case
 17           As discussed above, Booker and Title 18 of the United States Code Section
 18    3553(a)’s parsimony provision impose a statutory cap on sentences, despite what is
 19    recommended or prescribed by the sentencing Guidelines: the sentence must be
 20    “sufficient, but not greater than necessary” to achieve the purposes of punishment.
 21    Section 3553(a) (2) provides that the Court shall impose a sentence sufficient but not
 22    greater than necessary to comply with Section 3553(a).
 23           The Defendant respectfully requests that this Court impose a sentence that will
 24    permit her to return to society sooner than recommended by the government. The
 25    probation officer’s sentence recommendation is a reflection of a sentence that is
 26    sufficient but not greater than necessary to comply with sentencing law. A sentence of
 27    no more than 36 months, followed by a 3 year period of supervised release adequately
 28    addresses the factors this Court must consider in fashioning a sentence in this Case.
       10


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   1          Justice is served by this proposed sentence. The Defendant understands that the
   2   seriousness of her offense conduct. The message of deterrence has reached the
   3   Defendant and she clearly recognizes that her offense conduct not only impacted her
   4   life, but impacts the lives of others, particularly those of the victims, her husband and
   5   young children. This is not lost on the Defendant. This Defendant readily
   6   acknowledges that she needs to continue to give back to society and make amends. The
   7   proposed sentence achieves the goals of deterrence, incapacitation, and rehabilitation.
   8                                                 V.
   9                                       CONCLUSION
 10           In light of the foregoing and the records before the Court, it is respectfully
 11    requested that the Court consider the Plea Agreement sentencing factor analysis, the
 12    government’s motion and sentencing position, this sentencing position, and impose a
 13    sentence of no more than 36 months, followed by a 3 year period of supervised release,
 14    the payment of restitution and the appropriate special assessment. The Defendant
 15    further requests that the Court waive all fines and interest on the restitution judgement
 16    due to lack of financial ability to pay. She also requests that she be permitted to self-
 17    surrender January 12, 2018.
 18           The Defendant also requests that the Court recommend – in the following order
 19    of priority – that:
 20           1. Defendant be housed by the Bureau of Prisons in the Southern California area
 21               due to her ties to maintain proximity to her young family; and
 22           2. Defendant be housed by the Bureau of Prisons facility that will be able to
 23               address her ongoing medical issues, namely issues relating to anemia and the
 24               need for monthly iron infusions.
 25    DATED: October 2, 2017                   Respectfully submitted,
 26                                             ____/s/__________________
                                                Katherine Corrigan
 27
                                                Attorney for Defendant
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   1                               CERTIFICATE OF SERVICE
   2
       I, Katherine Corrigan, declare:
   3
   4          That I am a citizen of the United States and resident or employed in Orange
       County, California; that my business address is Corrigan Welbourn & Stokke, APLC,
   5   4100 Newport Place, Suite 550, Newport Beach, California 92660; that I am over the
   6   age of eighteen years, and am not a party to the above-entitled action;
              That on October 2, 2017, I caused to be transmitted via facsimile or e-mail to the
   7   person(s) below and addressed as follows:
   8
       DEFENDANT'S POSITION RE: SENTENCING; EXHIBIT A
   9
       on the following persons:
 10
 11
       USPO Leslie De La Torre VIA EMAIL Leslie_DeLaTorre@cacp.uscourts.gov
 12    United States Probation Department
 13    U.S. Courthouse
       411 W. 4th St., Ste. 8500
 14    Santa Ana, CA 92701
 15
 16
       This Certificate is executed on October 2, 2017 at Newport Beach, California. I certify
 17
       under penalty of perjury that the foregoing is true and correct.
 18
 19
 20    Dated: October 2, 2017                   ______/s/_________________
                                                     Katherine Corrigan
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                             Defendant’s Sentencing Position Memorandum
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 27                                  EXHIBIT A
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